Case 8:10-cr-00497-JSM-TBM Document 160 Filed 01/26/15 Page 1 of 2 PageID 641




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                          CASE NO: 8:10-cr-497-T-30TBM

JAVIER AVILES


 Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under 18
                  U.S.C. § 3582(c)(2) Based on USSG Amend. 782

       Before the Court is the Defendant’s Unopposed Motion for Prison-Term Reduction

under 18 U.S.C. § 3582(c)(2) based on USSG Amend. 782, a retroactive guideline

amendment, see USSG §1B1.10(d) (2014) (Doc.# 159). The United States does not oppose

a reduction. The parties agree that he is eligible for a reduction because Amendment 782

reduces the guideline range applicable to him, see USSG §1B1.10(a)(1). The Court agrees

that he is eligible for a reduction and adopts the amended guideline calculations indicated in

said motion.

       Having reviewed the facts in both the original presentence investigation report and the

November 20, 2014 memorandum from the United States Probation Office in light of the

factors in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any

danger posed by a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that

a reduction of 14 months is warranted. Consistent with USSG §1B1.10(e)(1), and in light of

the practical difficulties of a possible release date on Sunday, November 1, 2015, the effective

date of this order is November 2, 2015.

       Therefore:

       (1)     The Court grants the defendant’s motion, Doc. #159.

       (2)     The Court reduces the defendant’s prison term from 70 to 56 months or time

               served, whichever is greater.
Case 8:10-cr-00497-JSM-TBM Document 160 Filed 01/26/15 Page 2 of 2 PageID 642




       (3)    The effective date of this order is November 2, 2015.

       DONE and ORDERED in Chambers, Tampa, Florida on January 26, 2015.




Copies furnished to:

Counsel of Record
Magistrate Judge
United States Marshals Service
United States Probation Office
United States Pretrial Services
